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EXHIBIT 3

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United States District Court
Southern District Of New York

a woe x
Virginia L. Giuffre,
Plaintiff,
vy. 2 15-cv-07433-RWS
Ghislaine Maxwell,
Defendant.
x

DEFENDANT GHISLAINE MAXWELL’S RESPONSES AND OBJECTIONS TO
PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

Defendant, Ghislaine Maxwell, by and through her undersigned counsel, hereby responds
to Plaintiff’s First Request for Production of Documents (the “Requests”),

PRELIMINARY STATEMENT AND GENERAL OBJECTIONS

li, This response is made to the best of Ms. Maxwell’s present knowledge,
information and belief. Ms. Maxwell, through her attorneys of record, have not completed the
investigation of the facts relating to this case, have not completed discovery in this action, and
have not completed preparation for trial. Ms. Maxwell’s responses to Plaintiff's requests are
based on information currently known to her and are given without waiving Ms. Maxwell’s right
to use evidence of any subsequently discovered or identified facts, documents or
communications. Ms. Maxwell reserves the right to supplement this Response in accordance
with Fed. R. Civ. P. 26(e).

2. Ms. Maxwell objects to the Requests to the extent they attempt to impose any
requirement or discovery obligation greater than or different from those under the Federal Rules
of Civil Procedure, the local rules of this Court or any Orders of the Court.

3, Ms, Maxwell objects to the Requests to the extent they seek documents or
information protected by the attorney/client privilege, the work-product doctrine, Rule 408 of the
Federal Rules of Evidence, any common interest privilege, joint defense agreement or any other
applicable privilege.
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4, Ms. Maxwell objects to the Requests to the extent they seek documents or
information outside of Ms. Maxwell’s possession, custody or control.

5. Ms. Maxwell objects to the Requests to the extent they seek information which is
not relevant to the subject matter of the litigation and/or is not reasonably calculated to lead to
the discovery of admissible evidence.

6. Ms. Maxwell objects to the Requests to the extent they are overly broad, unduly
burdensome and/or propounded for the improper purpose of annoying, embarrassing, or
harassing Ms. Maxwell.

qZ Ms. Maxwell objects to the Requests to the extent they are vague and ambiguous,
or imprecise.

8. Ms. Maxwell objects to the Requests to the extent they seek information that is
confidential and implicates Ms. Maxwell’s privacy interests.

9. Ms. Maxwell incorporates by reference every general objection set forth above
into each specific response set forth below. A specific response may repeat a general objection
for emphasis or for some other reason. The failure to include any general objection in any
specific response does not waive any general objection to that request.

10. The Requests seek information that is confidential and implicates Ms. Maxwell’s
privacy interests. To the extent such information is relevant and discoverable in this action, Ms.
Maxwell will produce such materials subject to an appropriate protective order pursuant to Fed.
R. Civ. P. 26(c) limiting their dissemination to the attorneys and their employees.

OBJECTIONS TO DEFINITIONS

11. Ms. Maxwell objects to Definition No. | regarding “Agent” to the extent that it
purports to extend the meaning beyond those permissible by law.

12, Ms. Maxwell objects to Definition No. 3 regarding “Detendant.” The Definition
is overly broad and unduly burdensome to the extent it attempts to extend the scope of the
Requests to documents in the possession, custody or control of individuals other than Ms.
Maxwell or her counsel.

13. Ms. Maxwell objects to Definition No. 5 regarding “Employee.” Ms. Maxwell is
an individual, sued in an individual capacity, and therefore there is no “past or present officer,
director, agent or servant” of hers. Additionally, “attorneys” and “paralegals” are not
“employees” of Ms. Maxwell given that she herself is not an attorney and therefore cannot
“employ” attorneys.

14. Ms. Maxwell objects to Definition No. 9 regarding “You” or “Your.” The
Definition is overly broad and unduly burdensome to the extent it attempts to extend the scope of
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the Requests to documents in the possession, custody or control of individuals other than Ms.
Maxwell or her counsel,

OBJECTIONS TO INSTRUCTIONS

15. Ms. Maxwell objects to Instruction No. 1, in particular the definition of the
“Relevant Period” to include July 1999 to the present, on the grounds that it is overly broad and
unduly burdensome and calls for the production of documents that are irrelevant to this action
and not reasonably caiculated to lead to the discovery of admissible evidence. The Complaint at
paragraph 9 purports to describe events pertaining to Plaintiff and Defendant occurring in the
years 1999 —2002, The Complaint also references statements attributed to Ms. Maxwell
occurring in January 2015. Defining the “Relevant Period” as “July 1999 to the present” is
vastly overbroad, irrelevant and not reasonably calculated to lead to the discovery of admissible
evidence, and as to certain of the Requests, is intended for the improper purpose of annoying or
harassing Ms. Maxwell and it implicates her privacy rights. Thus, Ms. Maxwell interprets the
Relevant Period to be limited to 1999-2002 and December 30, 2014 - January 31, 2015 and
objects to production of any documents outside that period, except as specifically noted.

16. Ms. Maxwell objects to Instruction No. 3 on the grounds that it is unduly
burdensome and is intended for the improper purpose of annoying or harassing Ms. Maxwell.
Ms. Maxwell cannot possibly recall the specific disposition of documents, particularly electronic
documents, dating back over 16 years. However, Ms. Maxwell, prior to this litigation has long
had a practice of deleting emails after they have been read.

17. Ms. Maxwell objects to Instruction Nos. 5, 8, 9, 12, 17 to the extent they seek to
impose obligations to supply explanations for the presence or absence of such documents, to
specifically identify persons or documents, to provide information concerning who prepared
documents, the location of any copies of such documents, the identities and contact information
for persons who have custody or control of such documents, the reasons for inability to produce
portions of documents, and the “natural person in whose possession they were found,” beyond
the requirements of Rule 34. These Instructions improperly seek to propound Interrogatories
pursuant to Rule 33.

18. Ms. Maxwell objects to Instruction No. 13 on the grounds that it is unduly
burdensome and is intended for the improper purpose of annoying or harassing Ms. Maxwell.
Ms. Maxwell cannot possibly recall the specific circumstances upon which a document dating
back 16 years has ceased to exist.

19. Ms. Maxwell objects to Instruction No. 15 to the extent that it calls for documents
or information protected by the attorney/client privilege, the work-product doctrine, or any other
applicable privilege.

20, Ms. Maxwell objects to Instructions Nos. 18 & 19 to the extent they require
information on any privilege log above and beyond the requirements of Local Civil Rule 26.2.
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SPECIFIC OBJECTIONS AND RESPONSES TO PLAINTIFF’S
FIRST REQUESTS FOR PODUCTION OF DOCUMENTS

Document Request No. 1: All documents relating to communications with Jeffery Epstein from
1999 — Present.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly broad
and unduly burdensome and calls for the production of documents that are irrelevant to this
action and not reasonably calculated to lead to the discovery of admissible evidence. Ms.
Maxwell further objects to this Request to the extent it seeks documents or information protected
by the attorney/client privilege, the work-product doctrine, the common interest privilege or any
other applicable privilege.

Subject to and without waiving the above objections, Ms. Maxwell is withholding
documents outside of the Relevant Periods described in paragraph 15, supra, and is withholding
production of documents that are privileged pursuant to a common interest agreement.

Document Request No. 2: All documents relating to communications with Virginia Roberts
Giuffre from 1999 — present.

RESPONSE: Ms. Maxwell has been unable to locate any such documents.

Document Request No. 3: All documents relating to communications with Andrew Albert
Christian Edward, Duke of York (a.k.a. Prince Andrew) from 1999 — Present.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly broad
and calls for the production of documents that are irrelevant to this action and not reasonably
calculated to lead to the discovery of admissible evidence. Ms. Maxwell further objects to this
Request to the extent it seeks documents or information protected by the attorney/client
privilege, the work-product doctrine, or any other applicable privilege. Ms. Maxwell also
objects to this Request to the extent it implicates her right to privacy. Gateway Logistics, Inc. v.
Smay, 302 P.3d 235 (Colo. 2013); Fed. R. Evid. 501.

Subject to and without waiving the above objections, Ms. Maxwell will produce non-
privileged documents responsive to this Request limited to the Relevant Periods described in
paragraph 15, supra, and with private phone numbers and related information redacted. Ms.
Maxwell is withholding production of documents outside of such Relevant Periods.

Document Request No. 4: All documents relating to communications between you and Jeffrey
Epstein regarding any female under the age of 18 from the period of 1999 — present.

RESPONSE: Ms. Maxwell has been unable to locate any such documents.
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Document Request No. §: All documents relating to massages, including but not limited to any
documents reflecting recruiting or hiring masseuses, advertising for masseuses, flyers created for
distribution at high schools or colleges, and records reflecting e-mails or calls to individuals
relating to massages.

RESPONSE: Ms. Maxwell has been unable to locate any such documents.

Document Request No. 6: All documents relating te communications with any of the following
individuals from 1999 — present: Emmy Taylor, Sarah Kellen, Eva Dubin, Glen Dubin, Jean Luc

Brunel, and Nadia Marcinkova.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly broad,
unduly burdensome and/or propounded for the improper purpose of annoying or harassing Ms.
Maxwell. Ms. Maxwell further objects to this Request on the grounds that it calls for the
production of documents that are irrelevant to this action and not reasonably calculated to lead to
the discovery of admissible evidence.

Subject to and without waiving the above objections, Ms. Maxwell is withholding
production of documents relating to communications with Nadia Marcinkova, Sarah Kellen and
Eva Dubin that are outside of the Relevant Periods described in paragraph 15, supra. Ms.
Maxwell has been unable to locate any such documents relating to Ms. Marcinkova, Ms. Kellen
or Ms, Dubin within the Relevant Periods. Ms. Maxwell also has been unable to locate any such
documents responsive to this Request relating to Glen Dubin, Jean Luc Brune! or Emmy Taylor
for any time period.

Document Request No. 7: All video tapes, audio tapes, photographs or any other print or
electronic media relating to females under the age of 18 from the period of 1999 — present.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly broad,
unduly burdensome and/or propounded for the improper purpose of annoying or harassing Ms.
Maxwell. Ms, Maxwell further objects to this Request on the grounds that it calls for the
production of documents that are irrelevant to this action and not reasonably calculated to lead to
the discovery of admissible evidence.

Subject to and without waiving the above objections, Ms. Maxwell has been unable to
locate any documents responsive to this Request which relate or pertain to Plaintiff or any of the
witnesses identified by Plaintiff in her Rule 26 disclosures. Ms. Maxwell is withholding
production of other documents responsive to this Request, including things like mainstream
newspapers, magazines, videos, DVDs or other media or family photographs which contain
depictions of female children, including Ms. Maxwell herself as a child.
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Document Request No. 8: All documents relating to your travel from the period of 1999 —
present, including but not limited to, any travel on Jeffrey Epstein’s planes, commercial flights,
helicopters, passport records, records indicating passengers traveling with you, hotel records, and
credit card receipts.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly broad,
unduly burdensome and/or propounded for the improper purpose of annoying or harassing Ms.
Maxwell. Ms. Maxwell further objects to this Request on the grounds that it calls for the
production of documents that are irrelevant to this action and not reasonably calculated to lead to
the discovery of admissible evidence. Ms. Maxwell also objects to this Request to the extent it
implicates her right to privacy. Gateway Logistics, Inc. v. Smay, 302 P.3d 235 (Colo. 2013);
Fed. R. Evid. 501.

Subject to and without waiving the above objections, Ms. Maxwell is withholding
production of documents outside of the Relevant Periods described in paragraph 15, supra and is
withholding documents within the Relevant Period that are private and are not reasonably
calculated to lead to the discovery of admissible evidence.

Document Request No. 9: All documents identifying passengers, manifests, or flight plans for
any helicopter or plane ever owned or controlled by you or Jeffrey Epstein or any associated
entity from 1999 — present.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly broad,
unduly burdensome and/or propounded for the improper purpose of annoying or harassing Ms.
Maxwell. Ms. Maxwell further objects to this Request on the grounds that it calls for the
production of documents that are irrelevant to this action and not reasonably calculated to lead to
the discovery of admissible evidence.

Subject to and without waiving the above objections, Ms. Maxwell is withholding
production of documents outside of the Relevant Periods described in paragraph 15, supra, and is
withholding documents within the Relevant Period that are private and are not reasonably
calculated to lead to the discovery of admissible evidence. The documents reflecting flight plans
in Ms. Maxwell’s possession do not identify passengers or manifests.

Document Request No. 10: All documents relating to payments made trom Jeffrey Epstein or
any related entity to you from 1999 — present, including payments for work performed, gifts, real
estate purchases, living expenses, and payments to your charitable endeavors including the
TerraMar Project.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly
broad, unduly burdensome and/or propounded for the improper purpose of annoying or harassing
Ms. Maxwell. Ms. Maxwell further objects to this Request on the grounds that it calls for the
production of documents that are irrelevant to this action and not reasonably calculated to lead to
the discovery of admissible evidence.
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Subject to and without waiving the above objections, Ms. Maxwell has been unable to
locate any documents responsive to this Request during the Relevant Periods as defined in
paragraph 15, supra. Ms, Maxwell is withholding production of documents outside of such
Relevant Periods.

Document Request No. 11: All documents relating to or describing any work you performed
with Jeffrey Epstein, or any affiliated entity from 1999 — present.

RESPONSE: Ms. Maxwell objects to this Request in that the terms “work,” “with” and
“affiliated entity” are vague, undefined and susceptible of multiple meanings and definitions.
Ms. Maxwell objects to this Request on the grounds that it is overly broad, unduly burdensome
and/or propounded for the improper purpose of annoying or harassing Ms. Maxwell. Ms.
Maxwell further objects to this Request on the grounds that it calls for the production of
documents that are irrelevant to this action and not reasonably calculated to lead to the discovery
of admissible evidence.

Subject to and without waiving the above objections, Ms. Maxwell has been unable to
locate any documents responsive to this Request during the Relevant Periods as defined in
paragraph 15, supra. Ms. Maxwell is withholding production of documents outside of such
Relevant Periods.

Document Request No. 12: All confidentiality agreements between you and Jeffrey Epstein or
any entity to which he is related or invoived or such agreements which are or were in your
possession or control related to any other employee of Jeffrey Epstein, or any associated entity.

RESPONSE: Ms. Maxwell objects to this Request in that the terms “confidentiality
agreements” and “associated entity” are vague, undefined and susceptible of multiple meanings
and definitions. Ms. Maxwell objects to this Request on the grounds that it is overly broad,
unduly burdensome and/or propounded for the improper purpose of annoying or harassing Ms.
Maxwell. Ms. Maxwell further objects to this Request on the grounds that it calls for the
production of documents that are irrelevant to this action and not reasonably calculated to lead to
the discovery of admissible evidence.

Subject to and without waiving the above objections, Ms. Maxwell has been unable to
locate any documents responsive to this Request,

Document Request No. 13: All documents from you, your attorneys or agents to any law
enforcement entity, or from any law enforcement entity to you or any of your representatives
related to any cooperation, potential charge, immunity or deferred prosecution, or which relates
to suspected or known criminal activity.

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RESPONSE: Ms. Maxwell objects to this Request as vague and confusing. Ms.
Maxwell objects to this Request to the extent it requests documents subject to either the attorney-
client or work product privileges. Ms. Maxwell objects to this Request on the grounds that it is
overly broad, unduly burdensome and/or propounded for the improper purpose of annoying or
harassing Ms. Maxwell. Ms. Maxwell further objects to this Request on the grounds that it calls
for the production of documents that are irrelevant to this action and not reasonably calculated to
lead to the discovery of admissible evidence.

Subject to and without waiving the above objections, Ms. Maxwell has been unable to
locate any documents responsive to this Request.

Document Request No. 14: All documents relating to travel of any female under the age of 18
from the period of 1999 — present.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly broad,
unduly burdensome and/or propounded for the improper purpose of annoying or harassing Ms.
Maxwell. Ms. Maxwell further objects to this Request on the grounds that it calls for the
production of documents that are irrelevant to this action and not reasonably calculated to lead to
the discovery of admissible evidence.

Subject to and without waiving the above objections, Ms. Maxwell has been unable to
locate any documents responsive to this Request.

Document Request No. 1§: All video tapes, audio tapes, photographs or any other print or
electronic media taken at a time when you were in Jeffrey Epstein’s company or inside any of his
residences or aircraft.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly broad,
unduly burdensome and/or propounded for the improper purpose of annoying or harassing Ms.
Maxwell. Ms. Maxwell further objects to this Request on the grounds that it calls for the
production of documents that are irrelevant to this action and not reasonably calculated to lead to
the discovery of admissible evidence. Ms. Maxwell further objects to this Request to the extent
it implicates her right to privacy. Gateway Logistics, Inc. v. Smay, 302 P.3d 235 (Colo. 2013);
Fed. R. Evid. 501.

Subject to and without waiving the above objections, Ms. Maxwell has been unable to
locate any documents responsive to this Request that are within the Relevant Periods described
in paragraph 15, supra. Ms. Maxwell is withholding production of documents outside of such
Relevant Periods.
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Document Request No. 16: All computers, hard drives or copies thereof for all computers in
operation between 1999- 2002.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly broad,
unduly burdensome and/or propounded for the improper purpose of annoying or harassing Ms.
Maxwell. Ms. Maxwell further objects to this Request on the grounds that it calls for the
production of copies of computers or hard drives that contain documents, media and other data
that are irrelevant to this action and not reasonably calculated to lead to the discovery of
admissible evidence. Ms, Maxwell further objects to this Request to the extent it implicates her
right to privacy. Gateway Logistics, Inc. v. Smay, 302 P.3d 235 (Colo. 2013); Fed. R. Evid. 501.

Subject to and without waiving the above objections, Ms. Maxwell has been unable to
locate any computers, hard-drives or copies of any computers responsive to this Request.

Document Request No. 17: All documents relating to communications with you and Ross Gow
from 2005 — Present.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly broad,
unduly burdensome and/or propounded for the improper purpose of annoying or harassing Ms.
Maxwell. Ms. Maxwell further objects to this Request to the extent that it calls for the
production of documents that are irrelevant to this action and not reasonably calculated to lead to
the discovery of admissible evidence. Ms. Maxwell also objects to this request to the extent it
seeks documents or information protected by the attorney/client privilege, the common interest
privilege, the work-product doctrine, or any other applicable privilege.

Subject to and without waiving the above objections, Ms. Maxwell is withholding
documents responsive to this Request that are outside of the Relevant Periods defined in
paragraph 15, supra as well as the period of January !, 2011 to December 31, 2011, and also
withholding documents within the Relevant Periods that are privileged. Ms. Maxwell has been
unable to locate any non-privileged documents that are within such Relevant Periods.

Document Request No. 18: All video tapes, audio tapes, photographs or any other print or
electronic media relating to Virginia Roberts Giuffre.

RESPONSE: Ms. Maxwell objects to this Request to the extent it calls for attorney-
client communications and attorney work product. Ms. Maxwell also objects to this Request to
the extent it calls for video tapes, audio tapes, photographs or any other print or electronic media
relating to Virginia Roberts Giuffre that exists within the public domain, the internet or in public
court records and which are equally available to both parties and can be obtained from some
other source that is more convenient, less burdensome, and less expensive.

Subject to and without waiving the above objections, Ms. Maxwell has been unable to
locate any documents responsive to this Request.
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Document Request No. 19: All documents relating to your deposition scheduled in the matter
of Jane Doe v. Epstein, 08-80893, United States Southern District of Florida.

RESPONSE: Ms. Maxwell objects to this request on the grounds that it seeks
documents or information protected by the attorney/client privilege, any common interest
privilege, and the work-product doctrine.

Subject to and without waiving the above objections, Ms. Maxwell is withholding
privileged documents Responsive to this Request.

Document Request No. 20: All documents relating to any credit cards that were paid for by
Jeffrey Epstein or any related entity from 1999 — present.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly broad,
unduly burdensome and/or propounded for the improper purpose of annoying or harassing Ms.
Maxwell. Ms. Maxwell further objects to this Request on the grounds that it calls for the
production of copies of computers or hard drives that contain documents, media and other data
that are irrelevant to this action and not reasonably calculated to lead to the discovery of
admissible evidence. Ms. Maxwell further objects to this Request to the extent it implicates her
right to privacy. Gateway Logistics, Inc. v. Smay, 302 P.3d 235 (Colo. 2013); Fed. R. Evid. 501.

Subject to and without waiving the above objections, Ms. Maxwell has been unable to
locate any documents responsive to this Request.

Document Request No. 21: All telephone records associated with you, including cell phone
records from 1999 — present.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly broad,
unduly burdensome, propounded for the improper purpose of annoying or harassing Ms.
Maxwell, and seeks documents outside of Ms. Maxwell’s possession, custody or control. Ms.
Maxwell further objects to this Request to the extent that it calls for the production of documents
that are irrelevant to this action and not reasonably calculated to lead to the discovery of
admissible evidence. Ms. Maxwell further objects to this Request to the extent it implicates her
right to privacy. Gateway Logistics, Inc. v. Smay, 302 P.3d 235 (Colo, 2013); Fed. R. Evid. 501,

Subject to and without waiving the above objections, Ms. Maxwell has been unable to
locate any documents responsive to this Request during the Relevant Periods defined in
paragraph 15, supra. Ms. Maxwell is withholding production of documents outside of such
Relevant Periods.

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Document Request No. 22: All documents relating to calendars, schedules or appointments for
you from 1999 — present.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly broad,
unduly burdensome, propounded for the improper purpose of annoying or harassing Ms.
Maxwell, and seeks documents outside of Ms. Maxwell’s possession, custody or control. Ms.
Maxwell further objects to this Request to the extent that it calls for the production of documents
that are irrelevant to this action and not reasonably calculated to lead to the discovery of
admissible evidence. Ms. Maxwell further objects to this Request to the extent it implicates her
right to privacy. Gateway Logistics, Inc. v. Smay, 302 P.3d 235 (Colo. 2013); Fed. R. Evid. 501.

Subject to and without waiving the above objections, Ms. Maxwell has been unable to
locate any documents responsive to this Request during the Relevant Periods defined in
paragraph 15, supra. Ms, Maxwell is withholding production of documents outside of such
Relevant Periods.

Document Request No. 23: Al! documents relating to calendars, schedules or appointments for
Jeffrey Epstein from 1999 — present.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly broad,
unduly burdensome, propounded for the improper purpose of annoying or harassing Ms.
Maxwell, and seeks documents outside of Ms. Maxwell’s possession, custody or control. Ms.
Maxwell further objects to this Request to the extent that it calls for the production of documents
that are irrelevant to this action and not reasonably calculated to lead to the discovery of
admissible evidence.

Ms. Maxwell further objects to this Request to the extent it implicates her right to
privacy. Gateway Logistics, Inc. v. Smay, 302 P.3d 235 (Colo. 2013); Fed. R. Evid. 501.

Subject to and without waiving the above objections, Ms. Maxwell has been unable to
locate any documents responsive to this Request during the Relevant Periods defined in
paragraph 15, supra. Ms. Maxwell is withholding production of documents outside of such
Relevant Periods.

Document Request No. 24: All documents relating to contact lists, phone lists or address books
for you or Jeffrey Epstein from 1999 — present.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly broad,
unduly burdensome and/or propounded for the improper purpose of annoying or harassing Ms.
Maxweil. Ms. Maxwell further objects to this Request to the extent that it calls for the
production of documents that are irrelevant to this action and not reasonably calculated to lead to

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the discovery of admissible evidence. Ms. Maxwell further objects to this Request to the extent
it implicates her right to privacy. Gateway Logistics, Inc. v. Smay, 302 P.3d 235 (Colo. 2013);
Fed. R. Evid. 501.

Subject to and without waiving the above objections, Ms. Maxwell has been unable to
locate any documents responsive to this Request within the Relevant Periods defined in
paragraph 15, supra. Ms. Maxwell is withholding production of documents outside of such
Relevant Periods.

Document Request No. 25: All documents relating to any hospital records for Virginia Roberts
Giuffre.

RESPONSE: Ms. Maxwell has been unable to locate any such documents.

Document Request No. 26: All documents relating to any passport or license for Virginia
Roberts Giuffre.

RESPONSE: Ms. Maxwell has been unable to locate any such documents.

Document Request No. 27: All documents relating to any gifts or monetary payments provided
to Virginia Roberts Giuffre by you, Jeffrey Epstein or any related entity.

RESPONSE: Ms. Maxwell has been unable to locate any such documents.

Document Request No. 28: All documents relating to Virginia Robert’s employment or work
as an independent contractor with you, Jeffrey Epstein or any related entity.

RESPONSE: Ms. Maxwell has been unable to locate any such documents.

Document Request No. 29: All documents identifying individuals to whom Virginia Roberts
provided a massage.

RESPONSE: Ms. Maxwell has been unable to locate any such documents.

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Document Request No. 30: All documents relating to any employee lists or records associated
with you, Jeffrey Epstein or any related entity.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly broad,
unduly burdensome and/or propounded for the improper purpose of annoying or harassing Ms.
Maxwell. Ms. Maxwell further objects to this Request to the extent that it calls for the
production of documents that are irrelevant to this action and not reasonably calculated to lead to
the discovery of admissible evidence. Ms. Maxwell has been “associated with” any number of
entities over the last 17 years which have nothing to do with this civil case, Ms. Roberts or Mr.
Epstein.

Subject to and without waiving the above objections, Ms. Maxwell has been unable to
locate any documents responsive to this Request insofar as it seeks employee lists for any entity
related to Mr. Epstein, Ms. Roberts or any entity related to either one of them.

Document Request No. 31; All documents relating to Victoria Secret, models or actresses, who
were ever in the presence of you or Jeffrey Epstein or Virginia Roberts between 1999 and 2005.

RESPONSE: Ms. Maxwell has been unable to locate any documents responsive to this
Request.

Document Request No. 32: All documents related to communications with or interaction with
Alan Dershowitz from 1999 to present.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly broad,
unduly burdensome and/or propounded for the improper purpose of annoying or harassing Ms.
Maxwell. Ms. Maxwell further objects to this Request to the extent that it calls for the
production of documents that are irrelevant to this action and not reasonably calculated to lead to
the discovery of admissible evidence. Ms. Maxwell further objects to this Request as being
interposed for an improper purpose, specifically Plaintiff and her counsel’s civil litigation
currently pending in Broward County, Florida in the matter of Cassells v. Dershowitz.

Subject to and without waiving the above objections, Ms. Maxwell will produce non-
privileged documents responsive to this Request during the Relevant Periods defined in
paragraph 15, supra. Ms. Maxwell is withholding production of documents outside of such
Relevant Periods.

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Document Request No. 33: All travel records between 1999 and the present reflecting your
presence in: (a) Palm Beach Florida or immediately surrounding areas; (b) 9 E. 71 Street, New
York, NY 10021; (c) New Mexico; (d) U.S. Virgin Islands; (e) any jet or aircraft owned or
controlled by Jeffrey Epstein.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly broad,
unduly burdensome and/or propounded for the improper purpose of annoying or harassing Ms.
Maxwell. This request is also duplicative and cumulative of Requests Nos. 8 and 14 above. Ms.
Maxwell further objects to this Request to the extent that it calls for the production of documents
that are irrelevant to this action and not reasonably calculated to lead to the discovery of
admissible evidence.

Subject to and without waiving the above objections, Ms. Maxwell has been unable to
locate any documents responsive to this Request for the Relevant Periods as defined in paragraph
15, supra. Ms. Maxwell is withholding production of documents outside of such Relevant
Period.

Document Request No. 34: All documents reflecting your ownership or control of property in
London between the years 1999 and 2002.

RESPONSE: Ms. Maxwell objects to this Request to the extent that it calls for the
production of documents that are irrelevant to this action and not reasonably calculated to lead to
the discovery of admissible evidence. Ms. Maxwell further objects to this Request on the
grounds that it calls for documents that are a matter of the public record and are thus equally
available to the Plaintiff.

Subject to and without waiving the above objections, Ms. Maxwell is withholding
documents Responsive to this Request that are a matter of public record.

Document Request No. 35: Al! documents reflecting your or Jeffrey Epstein’s membership or
visits to the Mar-a-Lago Club in Palm Beach Florida between the years 1999 and 2002.

RESPONSE: Ms. Maxwell has been unable to locate any documents responsive to this
Request.

Document Request No. 36: All documents you rely upon to establish that (a) Giuffre’s sworn
allegations “against Ghislaine Maxwell are untrue.” (b) the allegations have been “shown to be
untrue.”; and (c) Giuffre’s “claims are obvious lies.”

RESPONSE: Ms. Maxwell objects to the Request as argumentative and misquotes and
misconstrues sentence fragments attributed to Ms. Maxwell. Ms. Maxwell further objects to this

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Request to the extent it calls for attorney-client communications, attorney work product and
other applicable privileges. Ms. Maxwell also objects to this Request to the extent it calls for
documents relating to Virginia Roberts Giuffre that exist within the public domain, the internet
or in public court records and which are equally available to both parties and can be obtained
from some other sources that are more convenient, less burdensome, and less expensive. Indeed,
many documents which demonstrate the falsity of Ms. Giuffre’s allegations concerning Ms.
Maxwell are within the possession and control of Plaintiff.

Subject to and without waiving the above objections, Ms. Maxwell is producing non-
privileged documents responsive to this Request.

Document Request No. 37: All documents reflecting communications you have had with Bill
or Hillary Clinton (or persons acting on their behalf), including all communications regarding
your attendance at Chelsea Clinton’s wedding ceremony in 2010.

RESPONSE: Ms. Maxwell objects to this Request on the grounds that it is overly broad,
unduly burdensome and/or propounded for the improper purpose of annoying or harassing Ms,
Maxwell. Ms. Maxwell further objects to this Request to the extent that it calls for the
production of documents that are irrelevant to this action and not reasonably calculated to lead to

the discovery of admissible evidence.

Subject to and without waiving the above objections, Ms. Maxwell has been unable to
locate any documents responsive to this Request for the Relevant Periods as defined in paragraph
15, supra. Ms. Maxwell is withholding production of documents outside of such Relevant
Periods.

Document Request No. 38: All documents reflecting contact with you by any law enforcement
or police agency, including any contact by the FBI, Palm Beach Police Department, or West

Palm Beach Police Department.

RESPONSE: Ms. Maxwell has been unable to locate any documents responsive to this
Request.

Document Request No. 39: All documents reflecting training to fly a helicopter or experience
flying a helicopter, including any records concerning your operation of a helicopter in the U.S.
Virgin Islands.

RESPONSE: Ms. Maxwell objects to this Request to the extent that it calls for the
production of documents that are irrelevant to this action and not reasonably calculated to lead to
the discovery of admissible evidence. Ms. Maxwell further objects to this Request to the extent

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it implicates her right to privacy. Gateway Logistics, Inc. v. Smay, 302 P.3d 235 (Colo. 2013);

Fed. R. Evid. 501.

Ms. Maxwell is withholding documents responsive to this Request as irrelevant and not
reasonably calculated to lead to the discovery of admissible evidence and privacy.

Dated: February 8, 2016

Respectfully submitted,

s/ Laura A. Menninger

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CERTIFICATE OF SERVICE

I certify that on February 8, 2016, I served the attached document DEFENDANT
GHISLAINE MAXWELL’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST
REQUEST FOR PRODUCTION OF DOCUMENTS via email to the following counsel of
record:

Sigrid 8. McCawley

BOIES, SCHILLER & FLEXNER, LLP

401 East Las Olas Boulevard, Ste, 1200
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s/Alan Schindler

Alan Schindler

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